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     Proposed Attorneys for the Debtors and
     Debtors in Possession

                                  UNITED STATES BANKRUPTCY COURT
                                    EASTERN DISTRICT OF VIRGINIA
                                         RICHMOND DIVISION

                                                            )
 In re:                                                     )   Chapter 11
                                                            )
                                                        1
 AMF BOWLING WORLDWIDE, INC., et al.,                       )   Case No. 12-36495 (KRH)
                                                            )
                                        Debtors.            )   Jointly Administered
                                                            )

                               NOTICE OF FILING OF UPDATED 2002 LIST

               PLEASE TAKE NOTICE that, in accordance with paragraph 4 of the Case

 Management Procedures established pursuant to the Order Establishing Certain Notice, Case

 Management, and Administrative Procedures (entered on November 20, 2012 at Docket No.




 1
  The Debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification
 number include: AMF Bowling Worldwide, Inc. (3272); 300, Inc. (3632); American Recreation Centers, Inc.
 (1151); AMF BCH LLC (9642); AMF Beverage Company of Oregon, Inc. (4960); AMF Bowling Centers Holdings,
 Inc. (1697); AMF Bowling Centers, Inc. (1662); AMF Bowling Mexico Holding, Inc. (7931); AMF Holdings, Inc.
 (5037); AMF WBCH LLC (9643); AMF Worldwide Bowling Centers Holdings, Inc. (1641); Boliches AMF, Inc.
 (9631); Bush River Corporation (7033); King Louie Lenexa, Inc. (0814); Kingpin Holdings, LLC (5411); and
 Kingpin Intermediate Corp. (5447). The location of the Debtors’ service address is: 7313 Bell Creek Road,
 Mechanicsville, Virginia 23111.
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 106) (the “Case Management Order”), attached hereto is an updated 2002 List (as defined in the

 Case Management Order).


         Dated: November 27, 2012            AMF BOWLING WORLDWIDE, INC., ET AL.
                Richmond, Virginia

                                             By: /s/ Dion W. Hayes
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                                                         Case 12-36495-KRH                                 Doc 145              Filed 11/27/12 Entered 11/27/12 19:39:33                                               Desc Main
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                                                                                                                                            Core/2002 Service List
                                                                                                                                           As of November 27, 2012




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                                                                                                                                        As of November 27, 2012




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